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           NOTICE TO COUNSEL OF RECORD AND PARTIES

                    Plaintiff's Counsel of Record
  TO:

  FROM:            N. Bowen                       , Deputy Clerk

  DATE:            6/5/2023

  CASE NO.:         1:20-cv-00186-JPB, re Doc. 174, Williams v. Allen


  SUBJECT:         RECLAMATION AND DISPOSITION OF DOCUMENTARY EXHIBITS



Pursuant to Local Rule 79.1(D), you are hereby notified that the documentary exhibits [           ]
from the                                       held in the above styled case will be disposed of if
you have not recovered same within 30 days from the date of this letter.¹ Any audio and
video exhibits will be retained until after the time for appeal has expired, or in appealed
cases, until entry of the appellate court's mandate.

Please date and sign this Notice to acknowledge receipt, indicate how the exhibits should be
handled, and electronically file the signed Notice using the Exhibit Disposition
Notification event in CM/ECF. The event is located under the Other Documents heading.

(In order to minimize your wait time when picking up exhibits, please allow for a minimum of 24 hours
from the time the notice is filed and an appearance is made at the public counter.)

 Receipt of this Notice is hereby acknowledged.
                                                                                      (Signature)



     Documentary Exhibits will be picked up no later than
                                                                                              (Date)


     Documentary Exhibits may be destroyed.
                                                                         (Initials)

Note: If someone other than the attorney of record will be picking up exhibits, a letter of authorization
from the attorney of record is required.

Exhibits Received by:
                                                               (Signature)


This                day of                                       , 2023


¹ The exhibits have been uploaded to the electronic file which is the official record of the court.
